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                   United States District Court
                     District of Massachusetts


                                   )
United States of America           )
                                   )
          v.                       )      Criminal Action No.
                                   )      15-10138-NMG
Joseph Solans,                     )
                                   )
          Defendant.               )
                                   )


                         MEMORANDUM & ORDER

GORTON, J.

     Pending before the Court is the motion of defendant Joseph

Solans (“defendant” or “Solans”) for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A).

I.   Background

     In January, 2021, the defendant admitted to violating the

terms of his supervised release.       This Court sentenced him to

six months in prison, as jointly recommended by the United

States and the defendant, in June, 2021.

     The defendant’s supervised release stemmed from a 2015

conviction for being a felon in possession of a firearm, in

violation of 18 U.S.C. § 922(g)(1).       The defendant previously

admitted to violating the terms of his supervised release in


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November, 2019.    Solans is currently incarcerated at the Donald

Wyatt Detention Center in Central Falls, Rhode Island (“Wyatt”).

      Solans moves to replace the remainder of his time with home

confinement.    He contends that he suffers from several medical

conditions, including cancer, hepatitis C, high blood pressure,

obesity, and cardiovascular complications stemming from a

Methicillin-Resistant Staphylococcus Aureus (MRSA) infection,

that make him especially vulnerable to contracting a severe case

of COVID-19, notwithstanding that he has received the Johnson &

Johnson vaccine.    The government opposes and urges this Court to

deny the defendant’s motion.

II.   Motion for Compassionate Release

      A. Legal Standard

      A court may reduce a defendant’s term of imprisonment

pursuant to 18 U.S.C. § 3582(c) only if, after considering the

factors set forth in § 3553(a), the Court finds that there are

“extraordinary and compelling reasons” warranting such a

reduction.     § 3582(c)(1)(A)(i).    Any modification must be made

pursuant to either a motion of the Director of the Bureau of

Prisons or a motion of the defendant after the defendant has

      fully exhausted all administrative rights to appeal a
      failure of the Bureau of Prisons to bring a motion on the
      defendant's behalf or the lapse of 30 days from the receipt

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     of such a request by the warden of the defendant's
     facility, whichever is earlier.

§ 3582(c)(1)(A).   Even if all other requirements are satisfied,

a court should only grant a motion for release if it determines

that the defendant is no longer a danger to the public.         Id.

     B. Application

     Solans is not entitled to a modification of his sentence

pursuant to § 3582(c)(1)(A) because he has not demonstrated that

there are “extraordinary and compelling reasons” that would just

a reduction in his sentence.

     The defendant suffers from several medical conditions that

place him at an increased risk of severe illness from COVID-19.

See People with Certain Medical Conditions, CDC,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited

Oct. 12, 2021) (listing cancer, high blood pressure, heart

conditions, chronic lung disease and obesity as conditions

causing increased risk).    Solans has not, however, proffered any

facts to suggest that his medical conditions substantially

diminish his capacity to care for himself or to participate in

measures to protect against the transmission of COVID-19.         His

medical conditions alone do not justify compassionate release.

See, e.g., United States v. Germano, 2021 WL 1862202, at *2 (D.

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Mass. May 10, 2021) (denying compassionate release despite

defendant’s increased risk of severe illness due to medical

conditions); United States v. Hardy, 470 F. Supp. 3d 61, 63 (D.

Mass. 2020) (denying compassionate release for defendant

suffering from hypertension, sleep apnea, diabetes and asthma).

     Solans also expresses concern that the conditions at Wyatt

exacerbate the health risk posed by his medical conditions.

Despite the recent news of positive COVID-19 cases among inmates

and staff members at the facility, these circumstances are

insufficient to warrant Solans’ release.       See, e.g., United

States v. Rosado, 2020 WL 5665557, at *3 (D. Mass. Sept. 23,

2020) (no extraordinary and compelling reason for release from

FCI Bennettsville when four inmates and 14 staff members were

infected with COVID-19).    There is no indication that Wyatt

currently poses an unacceptable threat to prisoner safety or

that its officials are unable to care adequately for the

defendant’s health.

     Most importantly, Solans has received the COVID-19 vaccine.

The FDA has concluded through extensive testing that the Johnson

& Johnson vaccine is highly effective in preventing infection

and severe disease.   Courts have routinely denied defendants’

motions for compassionate release when they are found to have

received the COVID-19 vaccine.     See United States v. Herman,

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2021 WL 3709832, at *2 (D. Mass. Aug. 20, 2021) (“[T]here is no

question now that the vaccine has dramatically reduced [the

defendant’s] risk of contracting COVID-19 or experiencing a

severe course of illness if he contracts the virus.”); United

States v. Clark, 2021 WL 277815, at *2 (S.D. W. Va. Jan 27,

2021) (“[A]n inmate cannot demonstrate extraordinary and

compelling reasons exist due to COVID-19 when the inmate has

been vaccinated against the disease.”).      In relation to the

efficacy of vaccine against the Delta variant, about which

Solans expresses concern, the Johnson & Johnson vaccine remains

highly effective.   See Kathy Katella, Comparing the COVID-

19 Vaccines: How Are They Different?, Yale Medicine,

https://www.yalemedicine.org/news/covid-19-vaccine-comparison

(last visited Oct. 12, 2021).

     While the Court remains cognizant of the risks associated

with COVID-19, modification to the defendant’s sentence would

also be inconsistent with the § 3553(a) factors.        See e.g.,

United States v. Nuzzolilo, 517 F. Supp. 3d 40, 44 (D. Mass.

2021).   While a probation violation was the impetus for the

defendant’s current sentence, the severity of Solans’ underlying

offense, his criminal history, the importance of just punishment

and the need to protect the public, weighs heavily against

defendant's release.   § 3553(a)(1)-(2).

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                                 ORDER

     Accordingly, defendant’s motion for compassionate release

(Docket No. 152) is DENIED without prejudice.




So ordered.

                                         /s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge


Dated October 13, 2021




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